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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                       )
 J.D., on behalf of herself and others similarly       )
 situated, et al.,                                     )
                                                       )
                        Plaintiffs,                    )
                                                       )   No. 17-cv-02122-TSC
  v.                                                   )
                                                       )
 ALEX M. AZAR, et al.,                                 )
                                                       )
                        Defendants.                    )
                                                       )

                  JOINT STIPULATION FOR STAY OF PROCEEDINGS

       The parties are still working on a way to proceed without motions practice. The parties

will provide the Court with a status update within 21 days, no later than Wednesday, July 15, 2020,

and request that the Court stay these proceedings during that period. Defendants agree to continue

to abide by the portion of the August 12, 2019 Joint Stipulation stating that Defendants (along with

their respective successors in office, officers, agents, servants, employees, attorneys, and anyone

acting in concert with them) will continue to act in accordance with paragraph 2 of this Court’s

April 16, 2018 Amended Class Certification and Preliminary Injunction Order, ECF No. 136, and

will not enforce or implement the current or any revised parental or sponsor notification policy

until 45 days after briefing is completed.

       A proposed order is attached.




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June 24, 2020                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 24, 2020, I electronically filed the foregoing document with

the Clerk of the Court for the United States District Court for the District of Columbia by using

the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                     By:    /s/ W. Daniel Shieh
                                            W. DANIEL SHIEH
                                            Senior Litigation Counsel
                                            United States Department of Justice
                                            Civil Division
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                   )
 J.D., on behalf of herself and others similarly   )
 situated, et al.,                                 )
                                                   )
                        Plaintiffs,                )
                                                   )     No. 17-cv-02122-TSC
  v.                                               )
                                                   )
 ALEX M. AZAR, et al.,                             )
                                                   )
                        Defendants.                )
                                                   )

                      [PROPOSED] ORDER ON JOINT STIPULATION

         Upon consideration of the parties’ JOINT STIPULATION, and in recognition of

Defendants’ agreement to continue to abide by Section 2 of this Court’s April 16, 2018 Amended

Class Certification and Preliminary Injunction Order, ECF No. 136, and not to enforce the

current or any revised policy referenced in the JOINT STIPULATION until 45 days after

completion of the briefing of Plaintiffs’ Motion for Preliminary Injunction, ECF No. 144, it is

hereby

         ORDERED that these proceedings will be stayed until July 15, 2020; and it is further

         ORDERED that on or before July 15, 2020, the parties will provide the Court with a

status update as to how the litigation should proceed.

Dated: June ___, 2020                         ______________________________
                                                    Tanya S. Chutkan
                                                    United States District Judge
